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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

 

 

 

United States of America )
v. )
) Case No.
GARRETT ERIC WEBER . _ ,
alka “BUBBLESXD_90” 3:21-mj- 134 ~ SRK
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of | March 11, 2021 - June 27,2021 in the county of | Clay and Duval in the
Middle District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. §§ 2251(a) & 2251(e) Attempted production of child pornography

This criminal complaint is based on these facts:

See attached affidavit.

@ Continued on the attached sheet.

 

Complainant's signature

SII 6. Lh
Z

Jonathan MacDonald, Special Agent, FBI

 

Printed name and title

‘

Sworn to before me and signed in my presence.

 

 

sc Ty 20 (wR Rut

Judge's signature

 

 

 

City and state: Jacksonville, Florida ( James R. Klindt, U.S. Magistrate Judge

Printed name and title
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AFFIDAVIT

I, Jonathan MacDonald, being duly sworn, state as follows:

i I am a Special Agent (SA) with the Federal Bureau of Investigation, an
agency of the United States Department of Justice (DOJ), and have been so
employed since November 2008. I am currently assigned to the Jacksonville Field
Office where I conduct a variety of investigations. I have a Bachelor of Science in
Geology and Master of Science in Geology. I am a law enforcement officer of the
United States and am thus authorized by law to engage in or supervise the
prevention, detection, investigation or prosecution of violations of federal criminal
law. I am responsible for enforcing federal criminal statutes under the jurisdiction of
FBI, including violations of law involving the exploitation of children. In my
capacity as a Special Agent, I have participated in numerous types of investigations,
during which I conducted or participated in physical surveillance, undercover
transactions and operations, historical investigations, and other complex
investigations. Since becoming a Special Agent, I have worked with experienced
Special Agents and state and local law enforcement officers who also investigate
child exploitation offenses. I have personally participated in over 100 searches and
hundreds of interviews.

2. I have investigated and assisted in the investigation of criminal matters
involving the sexual exploitation of children that involved violations of 18 U.S.C.

§§ 2251, 2252, 2252A, 2422, and 2423, as well as Florida state statutes that
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criminalize sexual activity with minors and other methods of child sexual
exploitation. In connection with such investigations, I have served as case agent,
have conducted interviews of defendants and witnesses, and have served as an
undercover agent in online child exploitation cases. I am a member of a local child
exploitation task force comprised of the FBI and other law enforcement agencies.
These agencies, and others, routinely share information involving the characteristics
of child sex offenders as well as investigative techniques and leads. As a federal
agent, I am authorized to investigate and assist in the prosecution of violations of
laws of the United States, and to execute search warrants and arrest warrants issued
by federal and state courts. Based on my training and experience, I know that the
internet and cellular telephones are facilities of interstate commerce.

3. The statements contained in this affidavit are based on my personal
knowledge, as well as on information provided to me by other Special Agents, FBI
employees, and other law enforcement officers and personnel. This affidavit is being
submitted for the limited purpose of establishing probable cause for the filing of a
criminal complaint, and I have not included each and every fact known to me
concerning this investigation. I have set forth only the facts that I believe are
necessary to establish probable cause to believe that GARRETT ERIC WEBER,
a/k/a “BUBBLESXD_90,” has committed a violation of Title 18, United States

Code, Sections 2251(a) and 2251(e), that is, attempted production of child

pornography.
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4, I make this affidavit in support of a criminal complaint against
GARRETT ERIC WEBER, a/k/a “BUBBLESXD_90” that is, during the period
from on or about March 11, 2021 through on or about June 27, 2021, in the Middle
District of Florida, GARRETT ERIC WEBER, a/k/a “BUBBLESXD_90,” did
knowingly attempt to employ, use, persuade, induce, entice and coerce a person
whom defendant believed to be a minor to engage in any sexually explicit conduct
for the purpose of producing visual depictions of such conduct, which visual
depictions would have been transported and transmitted using a facility of interstate
commerce, that is, by cellular telephone and the internet, in violation of 18 U.S.C.
§§ 2251 (a) and 2251(e).

5. In February 2021, I reviewed an investigative lead from the Milwaukee,
Wisconsin Division of the FBI, and learned, among other things, the following
information from documents that were provided to me:

a. On January 16, 2020, an Online Covert Employee (the WC OCE) from
the Winnebago County (Wisconsin) Sheriff's Office began an
undercover investigation via the internet using a mobile device and was
accessing Kik.! While using Kik, the WC OCE observed an individual

! Based on my training and experience, I know that Kik is a popular
messaging application (app) that permits users to send and exchange text messages
and other content over the internet. Users often meet in public and private chat
“sroups” that share a common interest. After meeting in the group, users can send,

receive, and exchange private messages with other group members using the private
chat feature. I also know that Kik was acquired by MediaLab in 2019.

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with username “BUBBLESXD_90” post what appeared to be an image
depicting a minor engaged in sexually explicit conduct in a group
named “young and zoo” on June 22, 2020 at 7:51 PM CST.

b. On July 21, 2020, FBI Milwaukee caused a subpoena to be served to
MediaLab, which I know is the company that owns the Kik app service,
requesting subscriber information and IP addresses for Kik username
“BUBBLESXD_90”. On August 27, 2020, MediaLab provided
responsive documents to this subpoena which included the following
subscriber information for Kik username “BUBBLESXD_90”: First
Name: thorman, Last Name: thunder, Email:
disturbedguy 1990@aol.com (unconfirmed), Username:
BUBBLESXD_90, as well as device type: iPhone. MediaLab
additionally provided IP address history associated with the account
from June 21, 2020 through July 20, 2020. IP address 107.139.208.27
was the only IP address associated with the account from June 21, 2020
through July 20, 2020.

c. On September 3, 2020, FBI Milwaukee caused a subpoena to be served
to AT&T requesting subscriber information for IP address
107.139.208.27 on June 21, 2020 at 22:37 UTC. On September 4, 2020,
AT&T provided responsive documents to this subpoena that listed the
subscriber of the account that used IP address 107.139.208.27 on June

21, 2020 at 22:37 UTC as Patricia Parker, with a service address of 1014

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6.

Warner Rd, Green Cove Springs, Florida 32043-8923. The telephone
number listed on the account was (904) 469-3712. The email addresses
listed for this account were parker7241@att.net and

nliverman@hotmail.com.

. On September 9, 2020, FBI Milwaukee caused a subpoena to be served

to Oath Inc. requesting subscriber information for email address
disturbedguy1990@aol.com. On September 10, 2020, Oath Inc.
provided responsive documents to this subpoena which included the
following subscriber information for email address
disturbedguy1990@aol.com: Login ID(s): disturbedguy1990@aim.com
and disturbedguy 1990; Mail Name: disturbedguy1990@aol.com;
Account Status: Active; Account Created: Sunday, March 11, 2012 at
00:34:40 UTC; Full Name: Garrett Weber; Country: US; and Phones:
904-327-3523 (Verified). Oath Inc. additionally provided IP address
history associated with the account from September 9, 2019 through
September 8, 2020. IP address 107.139.208.27 was used to login to the
account 355 times between September 9, 2019 and September 8, 2020.

On June 1, 2021, I reviewed the image referred to above by the WC

OCE in Wisconsin and determined that the image was actually the first frame of a

video posted to the “young and zoo” group by “BUBBLESXD_90” on June 22,

2020. The WC OCE had captured and preserved the entire video. A description of

this full video is as follows:

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DESCRIPTION: A color video of a nude prepubescent female minor
child. This minor child has childlike facial features, child-sized arms and legs,
and an absence of any pubic hair. The child is lying on her back holding what
appears to be a selfie stick in her hand as an adult male inserts his erect penis
into the child’s vagina. Based on my training and experience, I have probable
cause to believe that this video depicts a prepubescent minor engaged in
sexually explicit conduct, that is, genital-genital sexual intercourse, with an
adult male.

Ps On February 25, 2021, at my direction, FBI Operational Support
Technician (OST) Grace Meyer caused a subpoena to be served to MediaLab
requesting subscriber information and IP addresses for Kik username
“BUBBLESXD_90”. MediaLab provided responsive documents to this subpoena
that I have reviewed and that included the following subscriber information for Kik
username “BUBBLESXD_90”: First Name: thorman, Last Name: thunder, Email:
disturbedguy 1990@aol.com (unconfirmed), Username: BUBBLESXD_90, as well as
device type: iPhone. MediaLab provided IP address history associated with the
account from June 1, 2020 through February 19, 2021. IP address 107.139.208.27
was the only IP address associated with the account from June 1, 2020 through
February 19, 2021.

8. At my direction, on March 10, 2021, OST Meyer caused a subpoena to
be served to AT&T requesting subscriber information for IP address 107.139.208.27

on February 19, 2021 at 17:26:10 UTC. AT&T provided responsive documents to
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this subpoena I have reviewed and that listed the subscriber of the account that used
IP address 107.139.208.27 on February 19, 2021 at 17:26:10 UTC as Patricia Parker,
with a service address of 1014 Warner Rd, Green Cove Springs, Florida 32043, and
with cell phone number 904-735-3970. Additional names listed on the account were
Pamela Johnson with cell phone number 904-469-3712 and Garrett Weber with cell
phone number 904-327-3523.
9. Incident to the subpoena from AT&T, FBI Staff Operations Specialist
(SOS) Megan Hammerling conducted additional records research on 1014 Warner
Rd, Green Cove Springs, Florida 32043-8923. SOS Hammerling advised me that the
Florida Driver and Vehicle Information Database (DAVID) showed that Nanette
Elaine Liverman, Patrick Ann Parker, and GARRETT ERIC WEBER each list 1014
Warner Rd, Green Cove Springs, Florida 32043 as their residential address on their
Florida driver’s licenses. I have reviewed the photograph of WEBER that appears
on his Florida driver’s license, and I learned that WEBER’s date of birth is October
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10. On March 11, 2021, an FBI employee in Jacksonville began acting in

an undercover capacity as an Online Covert Employee (OCE and/or FBI OCE) in
this investigation. I know that the OCE has experience investigating violent crimes
against children, and further that the OCE has experience portraying either a minor
child or the parent of a minor child in online undercover investigations. I have
engaged in numerous discussions with the OCE regarding the OCE’s portion of this

investigation, and I have reviewed all of the written online communications between

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the OCE and “BUBBLESXD_90” as set forth below. The FBI OCE connected to
the internet using a cellular telephone and accessed an FBI undercover account on
Kik. While accessing Kik, the FBI OCE sent the following online private message to
“BUBBLESXD_90”: Heyyy.

11. On March 18, 2021, “BUBBLESXD_90” responded to the FBI OCE’s
March 11, 2021 message and the online conversation that occurred on March 18,
2021 between “BUBBLESXD_90” and the FBI OCE read as follows:

BUBBLESXD_90: Heyyyy (emoji)(emoji)(emoji)

OCE: Heyyy (emoji)

12. On March 19, 2021, the online conversation between
“BUBBLESXD_90” and the FBI OCE continued as follows:

BUBBLESXD_90: And how the heck are you doing (emoji)

OCE: Not bad.. I was in a fun group I thought you were in but

now I can’t find it (emoji)

BUBBLESXD_90: Laaaaaaaame no worries lol. Kinda hard to find actual fun

groups these days. They keep just disappearing (emoji)

13. On March 22, 2021, the FBI OCE sent the following online message to
“BUBBLESXD_90”:

OCE: Damnit you know any that are open for moms of

daughters?

14. On March 22, 2021, “BUBBLESXD_90” sent the following online

messages to the FBI OCE:

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BUBBLESXD_90: I have a feeling there are mamy. #rap.e
.beast.brutal.extreme.link accepts absolutely everything.
And omg yo are

BUBBLESXD_90: You are toooo damn sexy (emoji)

BUBBLESXD_90: You can probably get someone who has been there for a
while to post your naughty pics and/or videos

15. On March 25, 2021, the FBI OCE sent the following online messages to

“BUBBLESXD_90”:

OCE: Aww hahah thanks

OCE: I’m not really into rape/brutal stuff just ... taboo

16. On March 27, 2021, the online conversation between

“BUBBLESXD_90” and the FBI OCE continued as follows:

BUBBLESXD_90: I seeeeee... Hmm. Not really sure where any good groups
are for that. How old is your daughter? And how old is
your naughty frisky sexy self?

OCE: Ummm she’s 9 I’m 33 hbu?

17. On March 28, 2021, “BUBBLESXD_90” sent the following online

message to the FBI OCE:

BUBBLESXD_90: I am 28 and wow you are sexy (emoji)(emoji)(emoji)

18. On March 29, 2021, the online conversation between

“BUBBLESXD_90” and the FBI OCE continued as follows:

OCE: Haha oh yeah?? What are you into btw?
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BUBBLESXD_90:

Quite a lot. But mothers who are sexually interactive with
their daughters and or sons is ridiculously sexy to me. So,

simply put, I am wayyyyy into you (emoji)(emoji)

19. On March 30, 2021, the online conversation between

“BUBBLESXD_90” and the FBI OCE continued as follows:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

Lol my ex was the active one I just watched him .. hbu?
Any experience (emoji)

Only a little. And nothing really crazy. I once touched a
girls pussy as she slept. It was so soft and tiny
(emoji)(emoji) | wanted more

Did you ever take pictures or film him?

Wooow how old was she (emoji)(emoji)? He took all that
stuff when he left and I’ve never played on my own
(emoj1)

She was 7 or 8 at the time. And I see. You enjoyed
watching him being pleased by your beautiful little girl huh
(emoji)(emoji)

Lol something like that (emoj1)

Omg you naught naughty girl (emoji)(emoji) I wish I
could be there to please both of you sexy sexy girls

Lol if only you lived in Florida (emoji)(emoji)

(emoji)(emoji)(emoji)

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OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

Hahah whaaaa

And what if I did live in Florida (emoji)(emoji)

Hahah yeah well if you did .. maybe we could figure
something out but no one EVER lives nearby damnit
The weather outside is fucking hot as hell where I live.
There is a hint of where I live you naughty Florida girl
Haha I see and what would you do if you happened to be
close to me

I would have to get my ass closer to you. Then closer.
Then hopefully inside of your hot sexy body
(emoji)(emoji)

Ohh sorry I don’t do physical touch... I only watch.. had
bad shit happen def not gonna get into it

Okay then. That is completely fine. Then what would you
like me to do to your pretty tight little girl?

Uhh idk.. I always just followed my ex’s lead .. nothing
painful or anything obviously

So I am guessing that her pussy is still a virgin and he did
only ass and mouth play with her? Also, I am not gonna
abuse her. Since I have never done it before, I don’t really
have any rules lol

Good yeah no abuse obviously. She is definitely still a

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BUBBLESXD_90:

OCE:
BUBBLESXD_ 90:

BUBBLESXD_90:

OCE:
BUBBLESXD_90:
OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

virgin. He only did some rubbing kissing etc nothing crazy
I seeee. Well that doesn’t seem bad at all. The way I read
what you were saying before made me think that she went
all the way. That is pretty damn hot

Ah sorry to disappoint you .. not yet

Nooooo | am far from disappointed lol

The idea of rubbing a young girl licking and kissing her is
still ridiculously exciting

Oh yeah I’m sure (emoji)

So, do you live in north or south Florida?

Hahah well... does it matter?

Good question. And nah. Seems like fun no matter the
travel

it’s a big state regardless.. I just need to trust you a lil bit
(emoji)

And I you lol. Cause this is risky business for sure

Lol I know.. I don’t wanna do anything that could make

me lose her

20. On March 30, 2021, at approximately 4:52 PM, “BUBBLESXD_90”

sent the FBI OCE a URL hyperlink that connected to a particular online cloud

storage account. The FBI OCE opened this hyperlink and observed videos depicting

child pornography. I reviewed the videos and observed at least 10 videos that I have

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probable cause to believe depicted minors engaging in sexually explicit conduct,
including one particular color video titled 034-10yo Sucks Anal.mp4 that is 8
minutes 48 seconds in length depicted the digital and oral penetration of a
prepubescent female child.
21. On March 30, 2021, the online conversation between
“BUBBLESXD_90” and the FBI OCE continued as follows:
BUBBLESXD_90: I dunno if you watch vids, buuuuut this is a good link
BUBBLESXD_90: Then you are a good mom with a reeeeeally naught side
(emoji)(emoji)(emoji)
OCE: Eek okay I’m scared .. Do I just click it or what?
BUBBLESXD_90: What I do is I copy it, paste it in my browser and then
open in either the mega app or the browser. I use the mega

app. It seems to speed up the video load time

OCE: Omg there’s so much this will take me a while too look at
(emoji)(emoji)
OCE: Where do you find all these vids??

BUBBLESXD_90: I just find the links. The link was made by who the hell
knows, but is free for us to enjoy. I found the link in the
groups I showed you not long ago

BUBBLESXD_90: So if you wanted to see a little girl get fucked, links like
this is the way. And if you wanted to see moms play with

their little girls and little boys, (those are super rare btw)

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BUBBLESXD_90:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

there will be a link somewhere

And In these videos, some people go all the way with their
beautiful little girls (emoji)(emoji)(emoji)

that’s so hot(emoji)I wanna be in that group lol.. I feel like
My girl is so inexperienced

From your description and my history in seeing these vids,
I would say you are right. You could get tiny toys for her,
like anal training toys. Usually very small and gets her into
the amazing feelings that she COULD be feeling

#rap.e

.beast.brutal.extreme.link

Oh damn yeah she hasn’t done anything like that.

If you think you would feel weird about training her later
on in life, I would happily be there to do the slow training
in her future (emoji)(emoji)

Lol yeah it’s not my thing cause I only watch .. but ’m
open to ideas

Then I am yours (emoji)

Hahaha we'll see

Yes we shall (emoji) it was nice finally having a decent
conversation with you

G[ ]d damn you are a fun woman

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22. On March 31, 2021, the online conversation between
“BUBBLESXD_90” and the FBI OCE continued as follows:
OCE: Aww haha it was good to talk to you too! Sorry I work in
the evenings and my boss is so annoying about being on
my phone.
BUBBLESXD_90: I know the feeling. I just got home after a nine hour work
day in the blistering sun and sucky humidity. Iam
completely pooped lol
23. On April 1, 2021, the FBI OCE sent the following online message to
“BUBBLESXD_90”:

OCE: Oh man that sounds rough!

24. OnApril 2, 2021, the FBI OCE sent the following online message to
“BUBBLESXD_90”:

OCE: What’s up guy?

25. On April 4, 2021, “BUBBLESXD_90” sent the following online

message to the FBI OCE:

BUBBLESXD_90: Not much girl. How in the hell are you? Sorry for not
responding. Been a little overwhelmed from work lately

26. On April 6, 2021, the online conversation between “BUBBLESXD_90”

and the FBI OCE continued as follows:

OCE: Oh gotcha. No problem.. I’m not on all the time

either..What u do out in the sun lol lifeguard?

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BUBBLESXD_90: Just a handiman. Had to dig a trench for some piping for a
new client who wanted a water hose in their garden in
their front yard. Sometimes I work my ass off and other
times I relax in the AC and work on easy stuff inside
people’s houses

27. On April 7, 2021, the online conversation between “BUBBLESXD_90”

and the FBI OCE continued as follows:

OCE: Oh yeah digging a trench sounds rough .. I'll stick to
waiting tables haha

BUBBLESXD_90: Do it. At least you will get a tip (emoji)(emoji)

BUBBLESXD_90: And if I was around, your daughter might too
(emoji)(emoji)(emoji) that sounds so bad lmao

28. On April 8, 2021, the online conversation between “BUBBLESXD_90”

and the FBI OCE continued as follows:

OCE: Hahaha oh yeah? You interested in her (emoji)

BUBBLESXD_90: Mayyyyyyyyyybe teehee (emoji)(emoji)(emoji)

BUBBLESXD_90: G[ ]d damn it, I get turned on ever damn time I see your
message Imao

29. On April 9, 2021, at approximately 8:51 pm, “BUBBLESXD_90” sent

an online private message to the FBI OCE that contained a video file depicting an
adult female penetrating the vagina of a prepubescent female with a pacifier and

index finger.

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30. OnApril 12,

2021, the online conversation between BUBBLESXD_90

and the FBI OCE continued as follows:

OGE:
OCE:
BUBBLESXD_90:
OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

31. OnApril 12,

to the FBI OCE:

BUBBLESXD_90:

32. OnApril 13,

Damnnn that’s crazy

(emoji)love all the stuff you send

I love giving you the stuff (emoji)(emoji)

Oh yeah? Why’s that

Because you are a rare woman that is actually turned on
by this naughty dark stuff

Ohh gotcha

I just wish I had more to give you (emoji)(emoj})

Aw yeah I feel bad I don’t have anything for you

You talking about your sexy little girl is better than most

videos I can watch lol so you are fine

Ohhh yeah (emoji)I’m not into rp though only real. You’re
for real right?
I am so real (emoji)(emoji)(emoji)

2021, BUBBLESXD_90 sent the following online message

You have no idea how amazing it would be to me for me
to be her trainer. The one to slowly prepare her for a hard
big dick

2021, the online conversation between BUBBLESXD_90

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and the FBI OCE continued as follows:

OCE: Oh man that sounds exciting..

BUBBLESXD_90: Yessssss (emoji)(emoji) and it will be even more exciting
when you watch and/or join in. And I know, no touching.
But I am not gonna do anything you do not want me to
do. lam a perv, but not a douche Imao

33. On April 14, 2021, the FBI OCE sent the following online message to

BUBBLESXD_90:

OCE: So what would you plan on doing to her then?

34. On April 15, 2021, the online conversation between BUBBLESXD_90

and the FBI OCE continued as follows:

BUBBLESXD_90: Well, you did say your little girl is inexperienced. So I
would buy some training toys. Very thin dildos, lube,
flavored of course. Kiss her young beautiful lips while my
hands travel all over her tiny body. Gently play with her
slowly growing tits, suck on her young tiny nipples and
teach her the meaning of pleasure. Lay her on her back
and spread her legs apart and lick her tiny sweet pussy as
you watch and rub your hot wet pussy to us

OCE: Hmmm that sounds exciting

OCE: Are you close to north fl?

BUBBLESXD_90: I think so too (emoji) and mayyyyyyybe (emoji)
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BUBBLESXD_90: I live in the jacksonville area of fl
35. On April 16, 2021, BUBBLESXD_90 sent the following online message
to the FBI OCE:
BUBBLESXD_90: And you?
36. OnApril 18, 2021, BUBBLESXD_90 sent the following online message
to the FBI OCE:
BUBBLESXD_90: You know I have to be vague for now. But yes. I am near
north fl
37. On April 19, 2021, the online conversation between BUBBLESXD_90
and the FBI OCE continued as follows:
OCE: Im in Jax too. This is getting real. Do you actually wanna
try and figure stuff out? (emoji)
BUBBLESXD_90: Jesus Christ what are the odds (emoji)(emoji)(emoji) and
hell yeah I do.
BUBBLESXD_90: Quick weird question, does not matter the answer, I am
just curious, what color are you?
38. On April 20, 2021, the online conversation between BUBBLESXD_90
and the FBI OCE continued as follows:
OCE: Hmmm I’m white and she’s mixed. You?
BUBBLESXD_90: She is mixed?? (emoji)(emoji)(emoji) and I am just another
white guy lol

OCE: Lol nice

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BUBBLESXD_90: Not gonna lie, mixed girls are super hot to me (emoji)

BUBBLESXD_90: Rare to see you on kik at this time of day. You have the

day off?

OCE: No I just start at 6 today

BUBBLESXD_90: Oh shit. Well get that sexy ass moving girl. You have 16

minutes lol

OCE: Yeaaah I know I gotta go

BUBBLESXD_90: I know. Catch you later. Be safe and have a good day at

work (emoji)(emoji)

39. On April 23, 2021, BUBBLESXD_90 sent the following online message
to the FBI OCE:

BUBBLESXD_90: Heyyyyyy naughty mommy, how are you doing? (emoji)

40. On April 27, 2021, BUBBLESXD_90 sent the following online message
to the FBI OCE:

BUBBLESXD_90: You doing okay?

41. OnMay 2, 2021, at approximately 10:13 AM, “BUBBLESXD_90” sent
the FBI OCE a URL hyperlink for an online cloud storage account. The FBI OCE
attempted to open the link and received the following message from the company
that maintains the account: “This folder/file was reported to contain objectionable
content, such as Child Exploitation Material, Violent Extremism, or Bestiality. The
link creator’s account has been closed and their full details, including IP address,

have been provided to the authorities”.

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42. On May 2, 2021, the FBI OCE sent the following online messages to
“BUBBLESXD_90”:
OCE: Booo that link didn’t work
OCE: Also sorry I didn’t pay my phone bill ’ve been old school
for a minute haha
43, On May 3, 2021, BUBBLESXD_90 sent the following online messages
to the FBI OCE:
BUBBLESXD_90: Damn sorry. Someone must have reported it. Also,
welcome back to the age of functional cellphones (emoji)
BUBBLESXD_90: I took the day off of work. So I am all yours to talk to if
you are free
44. On May 4, 2021, the online conversation between “BUBBLESXD_90”
and the FBI OCE continued as follows:
OCE: Hahah thanks
OCE: I’m only here for a bit until I have to go in tonight lol gotta
make that money
BUBBLESXD_90: I totally understand. I have been saving as much as
possible to get a new car lately. Saving is a total pain in the
ass though lol
45. On May 5, 2021, the online conversation between “BUBBLESXD_90”
and the FBI OCE continued as follows:

OCE: Yuppp
21

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BUBBLESXD_90: Indeed. So how are you and your little girl?

46. On May 6, 2021, the online conversation between “BUBBLESXD_90”
and me as OCE continued as follows:

OCE: We’re doing ok. Nothing exciting here haha hbu?

BUBBLESXD_90: Same here unfortunately. You have work tonight?

47, On May 6, 2021, at approximately 5:52 PM, “BUBBLESXD_90” sent
the FBI OCE a URL hyperlink that connected to a particular online cloud storage
account. The FBI OCE opened this hyperlink and observed videos of child
pornography. I reviewed the videos and observed at least 10 videos that I have
probable cause to believe depicted minors engaging in sexually explicit conduct,
including one particular video titled VID-20140320-WA0031.MP4 that depicted an
adult male putting his penis into the mouth of a prepubescent female child.

48. On May 6, 2021, BUBBLESXD_90 sent the following online message
to the FBI OCE:

BUBBLESXD_90: You will cum so fucking much to all that is in this link

(emoji)(emoji)

49. On May 7, 2021, the online conversation between “BUBBLESXD_90”
and me as OCE continued as follows:

OCE: Damn you must like sending me stuff (emoji)what do u

look like btw?

BUBBLESXD_90: I really do lol. And I am kinda tall at 6’ not really fat but a

little chubby. My job keeps me very strong, so Iam a bit
22

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muscular. I am white, a blonde and have blue eyes
BUBBLESXD_90: How about you?
50. On May 8, 2021, BUBBLESXD_90 sent the following online message
to the FBI OCE:
BUBBLESXD_90: You got work tonight?
51. On May 12, 2021, BUBBLESXD_90 sent the following online message
to the FBI OCE:
BUBBLESXD_90: Can I see what your daughter looks like? (emoji)(emoji)
52. On May 13, 2021, the online conversation between
“BUBBLESXD_90” and the FBI OCE continued as follows:
OCE: Lol maybeeee what kinda pic you want
BUBBLESXD_90: I mean a normal pic would be nice, buuuuuuuuuut if you
are able to get a naughty pic of her in the shower or getting
dressed/undressed or just tell her to pose her sexy naked
body for you, I would love that (emoji)(emoji)
53. On May 14, 2021, the online conversation between BUBBLESXD_90”
and the FBI OCE continued as follows:
OCE: Hmmm perhaps.. but I never done pics like that ... how
like would you want me to take it?
BUBBLESXD_90: Honestly the first thing that came to mind was you
sneaking in on her undressing for a shower or getting in

the shower with her and taking it. That way it does not

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seem weird to her

54. On May 16, 2021, BUBBLESXD_90 sent the following online message

to the FBI OCE:

BUBBLESXD_90: What does your sexy ass do on the weekends?

55. On May 17, 2021, the online conversation between

“BUBBLESXD_90” and me as OCE continued as follows:

OCE: I try to work doubles most of the time(emoji).. I can try to
take a pic it just makes me nervous lol .. you want me
To get in the shower with her and take a pic? Anything in
particular u want in it or whatever?

BUBBLESXD_90: Getting in the shower with her and having you both in the
pic would be so so sexy (emoji)(emoji)(emoj1) OMG you
are truly amazing

BUBBLESXD_90: And no, I am not gonna be greedy and list demands on
such an incredible opportunity. I want you comfortable
and in a positive state of mind when you get in the shower
with your sexy little daughter

56. On May 18, 2021, BUBBLESXD_90 sent the following online message

to the FBI OCE:

BUBBLESXD_90: Sorry for probably being overbearing lol you just make me
so g[ ]d damn excited when you message me

(emoji)(emoji)
24

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57. On May 19, 2021, the online conversation between BUBBLESXD_90”
and the FBI OCE continued as follows:

OCE: Lol it’s okay.. I’ve never like done anything with her like
take a shower or anything.. so I snuck this pic instead for
you last night

OCE: [OCE sent image of what appears to be a prepubescent
female child lying on her side in bed, facing away from the
camera, wearing underpants and nothing else. [The image
does not depict an actual child.]

BUBBLESXD_90: Oh my god (emoji)(emoji)(emoji)(emoji) look at how sexy
her little ass is!!! I was kinda expecting you to blow me off,
but then you come in with this!!! Omg thank youuuuuuuu

BUBBLESXD_90: Also, your AC must seriously kick ass for her to cover up
in that thick ass blanket lol. I have a few gifts for you as a
thank you (emoji)(emoji)(emoji) do you wanna see some
full penetration videos (emoji)(emoji)

58. On May 19, 2021, at approximately 6:17 PM EDT,
“BUBBLESXD_90” sent an online private message to the FBI OCE that contained a
video of a white male individual anally and/or vaginally penetrating a darker
skinned female individual.

59. Later on May 19, 2021, BUBBLESXD_90 sent the following online

message to the FBI OCE:
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BUBBLESXD_90: Tomorrow afternoon when you get back on, if you like
this, ask for more and I will give them to you
(emoji)(emoji)(emoji) and again, thank you so so so so
much for that pic (emoji)(emoji)(emoji)
60. On May 20, 2021, the online conversation between
“BUBBLESXD_90” and the FBI OCE continued as follows:
OCE; Aw I’m glad you liked the pic. Sorry it wasn’t exactly what
you asked for..
OCE: Gifts for me? Like money? Haha
BUBBLESXD_90: Do not be sorry. What you did for me is something no one
has ever done and I loved it. I can only imagine how hard
your heart was pounding behind your beautiful breasts
(emoji)(emoji) God that was so damn sexy
61. On May 20, 2021, at approximately 10:15 pm EDT,
“BUBBLESXD_90” sent an online private message to the FBI OCE that contained
four videos, three of which I have probable cause to believe depict a minor engaging
in sexually explicit conduct, that is, genital-genital and/or anal-genital sexual
intercourse. Descriptions of these three videos are as follows:
DESCRIPTION: A color video approximately 1 minute 4 seconds in
length with sound depicting a very small, nude prepubescent female minor
child, lacking any pubic hair, lying on her back. A nude adult male is kneeling

in front of the child’s genitalia and forcing his penis into the child’s vagina

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throughout the entire video. Approximately 10 seconds (0:10) into the video,
the camera focuses on the child’s genitalia. At approximately 26 seconds
(0:26) into the video, the camera shows the child’s torso and genitalia.

DESCRIPTION: A color video approximately 59 seconds (0:59) in
length with sound depicting a nude prepubescent female minor child, wearing
only a t-shirt, on her hands and knees facing away from the camera. The child
has small, child-sized hands and arms and lacks pubic hair. The child is being
vaginally penetrated by the penis of an adult male. At approximately 36
seconds (0:36) into the video, the adult male removes his penis, and the child
places her right hand below her genitalia. At approximately 55 seconds (0:55)
into the video, a white substance falls from the child’s genitalia into the child’s
hand.

DESCRIPTION: A color video approximately 1 minute and 3 seconds
(1:03) in length with sound depicting a nude prepubescent female minor child
with her legs spread apart. The child is lying on her back while an adult male
forces his penis and fingers into the anus of the child who lacks pubic hair and
has very small, child-like body structure. The camera focuses on the child’s
genitalia as the child is digitally and anally penetrated. At approximately 29
seconds (0:29) into the video, the adult male begins rubbing his penis over the
child’s genitalia. At approximately 40 seconds (0:40) into the video, the
camera focuses on the child’s genitalia. At approximately 1 minute (1:00) into

the video, the camera angle changes to show the child being anally penetrated

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by the male’s penis.

62. On May 21, 2021, BUBBLESXD_90 sent the following online message

to the FBI OCE:

BUBBLESXD_90: Hope you like the vids (emoji)(emoj}1)

63. On May 24, 2021, BUBBLESXD_90 sent the following online message

to the FBI OCE:

BUBBLESXD_90: Were they too rough? (emoj}1)

64. On May 25, 2021, BUBBLESXD_90 sent the following online message

to the FBI OCE:

BUBBLESXD_90: Sorry... Hope everything is okay over there (emoji)

65. On May 31, 2021, BUBBLESXD_90 sent the following online message

to the FBI OCE:

BUBBLESXD_90: How are you and your beautiful sexy little girl?
(emoji)(emoji) been a long long time since I heard back
from you (emoji)

66. OnJune 7, 2021, BUBBLESXD_90 sent the following online message

to the FBI OCE:

BUBBLESXD_90: I miss you...

67. OnJune 10, 2021, BUBBLESXD_90 sent the following online message

to the FBI OCE:

BUBBLESXD_90: Welp, it was fun. Wish we coulda met. Oh well. Bye bye

(emoji)

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OCE:
BUBBLESXD_90:
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BUBBLESXD_90:
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OCE:

BUBBLESXD_90:

OCE:

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On June 23, 2021, the online conversation between

“BUBBLESXD_90” and the FBI OCE continued as follows:

Don’t be mad

Pff I am never mad

Liess

Yeah lol Iam mad sometimes. But never at you

More sad that you stopped speaking to me

Lol sorry i go through phases of using this app

I don’t blame you lol this app is pretty much only for being
discrete and talking about the naughtiest of things

Yeahhh

Meh ok hbu

Not too bad. Been trying hard as hell to get a new car

I still have that picture you gave me of your beautiful
daughter (emoji)(emoji) and I was thinking that giving her
a fully body warm oil massage would be soooo much fun.
What do you think?

Hmmm that would be interesting

That would be very interesting. And something I think you
would enjoy joining in on (emoji)

Lol I don’t participate sorry
29

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BUBBLESXD_90:

OCE;
BUBBLESXD_90:

BUBBLESXD_90:

BUBBLESXD_90:

69. On June 24,

I know. Just thought since that is not too sexual that you
would not be bothered joining in

Nah

Lol okay okay (emoji)

So what do you do when you watch a guy rub on and kiss
and lick your little girl?

Just curious lol

2021, the online conversation between

“BUBBLESXD_90” and the FBI OCE continued as follows:

OCE:

OGE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

Lol sorry for ghosting you. Idk I would have to make sure
they didn’t hurt her

I’m off work tonight (emoji)

Annnnnd I just got home from work (emoji)(emoji) and of
course! That little girl is your life. 1 would never want to
hurt her. I would, however, like to learn what she enjoys
being done to her

Lol well like I said she’s not too experienced .. not like the
girls in the vids u sent

Lol indeed. But experience can most certainly grow
(emoji)

Lol ya

Now imagine now, her young virgin body. Barely been

30

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Case 3:21-cr-O0065-MMH-MCR Document1 Filed 07/01/21 Page 32 of 58 PagelD 32

BUBBLESXD_90:

OCE:
OCE:
BUBBLESXD_90:
OCE:
OCE:
OCE:
BUBBLESXD_90:
OCE:

BUBBLESXD_90:

OCH:

BUBBLESXD_90:

touched. Now imagine being there for her as she learns
more and more and more

You guiding her on her sexual journey. Learning how to
touch. Learning how she likes to be touched. That is pretty
damn hot to me lol

Lol well I’m not doing any of those things

That’s for someone else

You are not gonna be in the room watching? (emoji)
Obviously I have to make sure she’s safe

But you said you

It was confusinggg¢g

Well you are verbal support is what I am getting at (emoji)
Lol verbal support?!?

Yeah. Like, if she starts to fell uncomfortable with me
licking her pussy. You will be there to assure her that
everything is fine and that she will like it

Ohhh if that’s what you want me to do..

Oh I want you to do a lot more than that. But, since you
do not want any physical interaction, that can be
something you can join in with. Make it fun for her. Fun

for you. Just make if a fun as hell night

BUBBLESXD_90: It*

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OCE: Oh yeah?
BUBBLESXD_90: Oh yes
BUBBLESXD_90: Hell, you know I am attracted to you (emoji) I dunno
what you look like or much of anything about you, but I
am super attracted to your sexual pleasures
OCE: I told you I’m not part of it. Get over it (emoj1)
BUBBLESXD_90: lammmmmmmmm lol
OCE: Lol oh I thought you wanted my daughter
BUBBLESXD_90: Oh I do (emoji)(emoji)(emoji)
OCE: Then who’s the other girl
70. OnJune 24, 2021, at approximately 8:09 pm EDT,
“BUBBLESXD_90” sent an online private message to the FBI OCE that contained a
video that I have probable cause to believe depicted a minor engaging in sexually
explicit conduct, that is, genital-genital sexual intercourse. A description of the video
is as follows:

DESCRIPTION: A color video approximately 20 seconds (0:20) in
length with sound depicting a prepubescent female minor child lying on her
back. An adult male rubs his penis on the vagina of the child throughout the
video. The child’s vagina lacks pubic hair and is very small compared to the
adult male’s penis, At approximately 4 seconds (0:04) into the video, the adult
male can be heard saying “does that feel good?” At approximately 18 seconds

(0:18) into the video, a white substance appears and can be seen on the adult

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male’s hand and the child’s body.

71. Later on June 24, 2021, the online conversation between

“BUBBLESXD_90” and the FBI OCE continued as follows:

BUBBLESXD_90:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

OCE:;

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

CCE

I wanna eventually do this with her (emoji)(emoj1)

I girl I met not long ago. She works at a publix and she is
super sweet.

A girl*

damnn

Who’s that (emoji)

That girl I have no idea lol. She is just some sexy as hell
little girl getting a good squirt of cum on her hot little
virgin pussy

Lol ohh just a random

Yeah. I have only ever touched one little girl lol. And,
unfortunately, I did not get a pic (emoji)

But imagine your little girls tight little black pussy lips
being parted by my throbbing hard white cock. She starts
getting wet and makes the tip of my cock slippery so I start
to rub it between your little girls pussy lips from her tiny
tiny clit to her virgin un-penetrated hole
(emoji)(emoji)(emoji)

Dang that was descriptive lol is that what you did to the

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Case 3:21-cr-O0065-MMH-MCR Document1 Filed 07/01/21 Page 35 of 58 PagelD 35

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

other girl?

No lol. I just felt her pussy as she slept. My dick never
touched her.

Ohh so she didn’t know

Yeahhhh

But her pussy was the softest bit of skin I had ever felt. I
wanted so badly to taste the silken smooth skin

How did you get the opportunity

Baby sitting when their mom went out. She fell asleep on
me after I put on a movie and she had on super loose
shorts and no panties

Not gonna lie, I wanted her mom too. She had amazing
tits and a gorgeous ass. But she was my step sister and she
was sooooo not into it (emoji)(emoj1)

Hmmm so your into young and old haha? Just girls or girls
and boys?

Just girls. But if you were to suck off a young boy or start
teaching him how to fuck, I would be super into that. Just
would not wanna join in lol

Haha I see

72.  OnJune 24, 2021, at approximately 8:32 pm EDT,

“BUBBLESXD_90” sent an online private message to the FBI OCE that contained a

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video that I have probable cause to believe depicted a minor engaging in sexually
explicit conduct, that is, genital-genital sexual intercourse. A description of the video
is as follows:

DESCRIPTION: A color video approximately 31 seconds (0:31) in
length with sound depicting a prepubescent male minor child facing an adult
female. The male child lacks pubic hair and has very small features and
genitals as compared to the adult. The adult female is using her right hand to
hold the child’s underwear down. At approximately 2 seconds (0:02) into the
video, the adult female places her right thumb on the child’s penis. At
approximately 3 seconds (0:03) into the video, the adult female can be heard
saying “go, put it in” as the child inserts his penis into the adult female’s
vagina. At approximately 15 seconds (0:15) into the video, the child’s penis
falls away from the adult female’s vagina. The adult female grabs the penis
and can be heard saying “too high, buddy.” At approximately 18 seconds
(0:18) into the video, the adult female spreads her vagina as the child re-inserts
his penis into her vagina. At approximately 26 seconds (0:26) into the video,
the child’s penis is removed from the adult female’s vagina. The adult female
appears to touch the child’s penis with her right hand then pulls the child’s
underwear down. Approximately 30 seconds into the video (0:30), the adult
female lifts her hand and can be heard saying “my nail.”

73. Later on June 24, 2021, the online conversation between

“BUBBLESXD_90” and the FBI OCE continued as follows:

35 yee
BUBBLESXD_90:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OGCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

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Like that is fucking hot to me. But I would not want to
help. I would just want to watch. Maybe join in and have
her suck my dick as she let him have his fun

Sent that in case you have never experienced a video like
that before

Yeah I’ve never seen that before.. Sorry I’m kinda new to
the young stuff my ex was the one who knew about it
Well, welcome to the kink that turns you on like crazy and
makes you feel ashamed at the same time (emoji)(emoji)
Thanks..

Lol don’t be worried. So, tell me what you imagine when
you think of a man with your little girl?

And don’t be shy lol. I have been open, now it is your turn
to have fun with your thoughts (emoji)(emoj1)

Meh I’m not really into fantasizing just real stuff

Hmm

Alas real people are hard to find haha

Well let’s make this happen. Let’s get this hard dick
between that sexy little girls legs (emoji)

Lol oh yeah?

Fuck yeah lol

Lol ok
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BUBBLESXD_90:

OCE:
BUBBLESXD_90:
OCE:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

(emoji)(emoji)(emoji) I cannot wait to start training your
daughter to take bigger and bigger things inside her
beautiful pussy

Lol well when are you thinking

Any time on the weekends (emoji)

Hmmm I could make it work

I am so turned on right now (emoji)(emoji)(emoji) just
thinking of her is making me want her more

So, do you want me to be her grown up boyfriend?
(emoji)(emoj1)

Haha idk about all that

Lol alright. I am just trying to find out what you want.
Because when I meet her, I am gonna be a complete
stranger. How will she react to me? How do we transition
from me being a guest to me getting her to take her clothes
off

Yeah idk that’s a good point

Obviously I am not dating mommy. So it won’t be
mommys boyfriend touching her. Who am I? How will
she feel about me? Should I just regularly meet up with
you and her and get her use to a new friend with silly

sexual ideas? Perhaps have her walk in while we are

af Qs
Case 3:21-cr-O0065-MMH-MCR Document 1 Filed 07/01/21 Page 39 of 58 PagelD 39

BUBBLESXD_90:

OCE:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

watching porn? Maybe you can turn on some porn and
masturbate while she is around and get her accustomed to
seeing sexual things

I may be fucked up, but I am not completely stupid lol.
But, all kids are into sexual things because it is bad. And
they often want to do what they are not allowed to do.
True

Idk you'll have to come up with a plan.. maybe bring her
stuff to bribe her?

(emoji)(emoji)(emoji) does not sound like a bad idea. But,
again, how am I gonna get that little girl to WANT to get
naked for me and want me. I would prefer not to go and
do things against her wishes. I dunno. The logical part of
this story became difficult lol.

Haha idk maybe m and ms and Reese’s?

Here is some candy little girl, here is also a big fat lollipop
for you to suck on (emoji)(emoji) I kinda like it lmao

You should get her a phone so I can start talking her into
doing things for me (emoji)(emoji)

Maybe but I’d want to know what you were asking ya
know

Well, she will try to keep it a secret. But I am sharing all of
38

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BUBBLESXD_90:

BUBBLESXD_90:

BUBBLESXD_90:
BUBBLESXD_90:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

OCE:

BUBBLESXD_90:

our conversations because I do not just want to get your
daughter to explore, I want you to get off to it

You will see how naughty your daughter gets. I will send
her some videos of very dirty stuff and get her to send me
pics of her doing things for me.

Then, once you find out about us, you act all surprised and
get me to come over and punish her by making her do
sexual acts for me.

That is just one instance

What is going through your mind?

Idk what to think.. I don’t want any kind of punishment
like that but maybe I could get her a phone or something
Alright. So no punishment. But, yeah. Or let her use yours
and let her have her own kik account. I will find her and
try to hit it off (emoji)(emoji)

And yeah, I only want to punish someone with sex if they
want to be punished like a sexy submissive girl
(emoji)(emoji)

Hmmm okay let me think about that one

I think I’d rather have you text her there some weirdos on
here lol

True that lol

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BUBBLESXD_90:

OCE;
BUBBLESXD_90:
OCE:
BUBBLESXD_90:
BUBBLESXD_90:
OCE:
OCE:
BUBBLESXD_90:
OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

She might get a snapchat that I can add her on. Pretty
discrete there I think

Nah not snap.. I’m too old to understand it haha

Lmao you are younger than me girl (emoji)(emoji)

Lol I am? How old are u?

33

If I remember right, you are 27?

Haha nah I’m 34

So I win

G[ ]d damn it (emoji)

Lol

Your sexy ass has me beat. But damn it I know lam
bigger than you (emoji) my muscles are well trained and I
bet I could bench press you (emoji)(emoji)

Lol I bet

Who knows. Maybe through your daughter we will
become friends and you will let me try (emoji)(emoji)
Lol

I dunno about you, but I want to live my life living a fun
life. So, if we do become decent friends, let’s have fun
together. Board games, video games, flashing random kids

my dick and your tits (emoji)(emoji)(emoji)

40

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OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

BUBBLESXD_90:

BUBBLESXD_90:

BUBBLESXD_90:

Hahah you're crazy

Gotta be crazy to want to fuck a 9 year old
(emoji)(emoji)(emoji)

Haha (emoji)

And I cannot wait until she is trained enough to take in
every inch (emoji)(emoji)(emoji)

Once she and I start talking, she might want to be my
girlfriend. What would you do if you came home and she
has snuck me in to your house? (emoji)(emoji)

Lol you’re getting ahead of yourself!

What do you think you’d do the first time tho

I am thinking of going with the full body massage idea. It
would not be too invasive and she will be giving me
permission to touch her everywhere

I will just spend some extra time massaging her ass pussy
and nips (emoji)(emoji)

Her little perky black ass is gonna look so fucking good
oiled up (emoji)(emoji)

I will tell her that I can massage her kitty with my tongue
and omg will I

You can film it all and make a montage video of her trying

to take my dick inside of her tight little holes to eventually
41

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OCE:

BUBBLESXD_90:

BUBBLESXD_90:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

me fucking her like an adult.

Oh damn that’s a thought.. you want to film the first time?
Omg yesssss!

Then you and I will be able to watch her lose her virginity
to my hard cock again and again (emoji)(emoji)(emoji)
We can film when she gets my dick in her ass and in her
pussy for the first time. That would be the best cp vid ever
(emoji)(emoji)

I need to calm down. I am getting myself too excited lol
Lol you think she’s lose her virginity the first time you
met?

Nah, not unless I talk to her for a while, open her up to
adult things and she starts to want it

But would you be able to handle seeing her hymen blood
all over my cock once I take her virginity?

Ummm lol Idk I don’t want you to hurt her you have to
listen to me if I say no

You got it girl lol

Do you wanna see me cum all over her ass as she sleeps?
(emoji)(emoji)

Worth asking lol

Lol idk if u want

42
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BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

BUBBLESXD_90:

Well of course I do. But damn woman. Do you know at
all what you really want from me? (emoji)(emoji)

Lol just do what you want.. within reason

Well most of what I will do will be to help you satisfy
naughty devilish desires. I want to make your pussy wet
when your daughter gets felt up. I want to see that hand in
your panties, or have those panties just come off from
watching me fool around with your little girl

No it’s not about me.. I told you

Okay. So you want your daughter to have experience. I
am curious as to why? Did you lose your virginity early on
too?

Sorry. That does seem to be a serious question. My bad
Anyways. I might be going to sleep soon. Message me all
you want and I will get back to you (emoji)(emoji) have a

good night sexy mommy

74. On June 25, 2021, the online conversation between

“BUBBLESXD_90” and the FBI OCE continued as follows:

BUBBLESXD_90:
OCE:
BUBBLESXD_90:

OCE:

How is your day going gorgeous?
Ok u
Not bad. Got a little wet from the rain, but I will live lol

Yeah it’s been constant

43

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BUBBLESXD_90:

BUBBLESXD_90:

OCE:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

OCE:

Yup. I have not gone home dry in days (emoji)(emoji)

So what do you do for fun? Any hobbies? (emoji)(emoji)
Nah just work a lot ..

U?

I like to build stuff. I really love finding odd designs of
things, like houses, and adding my own flare. Downside to
this is I can do it perfectly in my head but I cannot draw
worth a shit lol

So what kind of sexual things do you like being done to
you? You seem almost A-sexual lol

Ah yeah art isn’t my thing

It takes some serious training to become any good at being
artistic

Yeah I guess. Maybe I am lol

You are the visionary. The one who tells people to do
what she imagines in her head. Do you masturbate much?
I’m not interested in talking about me sry

No worries lol. I was just curious

In that case, do you think you would be able to get another
pic of your little girl? (emoji)(emoji)

Maybe

What u want a pic of this time?

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BUBBLESXD_90: I would love one of her completely naked. I would love to
see her pussy that I want so badly to lick and taste and
hopefully take the virginity of (emoji)(emoji)

OCE: Hmmm I’d have to take a pic like that.. how should I take
it?

BUBBLESXD_90: You can take all of her clothes and put them in the wash
and make her go to sleep naked

BUBBLESXD_90: Or tell her to drop her panties and let you take a pic of her
pussy and send it to her doctor to examine Tomane sure it
is not infected or looking wrong in any way (emoji)

BUBBLESXD_90: To make sure*

OCE; Oh so like her just standing there?

BUBBLESXD_90: Yeah. Unless you feel comfortable just telling her to take
her clothes off and posing for you lol.

OCE: Lol idk I was just trying to do what u want I’m not making
any promises

75. OnJune 25, 2021, at approximately 8:12 pm EDT,

“BUBBLESXD_90” sent an online private message to the FBI OCE that contained a
video that I have probable cause to believe depicted a minor engaging in sexually
explicit conduct, that is, oral-genital sexual penetration. A description of the video is

as follows:

DESCRIPTION: A color video approximately 23 seconds (0:23)

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in length depicting a prepubescent female minor child with a child-like
face with her mouth on the penis of an adult male. The child is rubbing
the adult male’s penis with her right hand which is too small to wrap
around the full width of the penis. At approximately 3 seconds (0:03)
into the video, the child removes her mouth from the penis and rubs the
penis with her left hand. At approximately 10 seconds (0:10) into the
video, the child removes her hands from the penis. At approximately 15
seconds (0:15) into the video, the child begins to rub the penis with her
left hand.
76. Later on June 25, 2021, the online conversation between
“BUBBLESXD_90” and the FBI OCE continued as follows:
BUBBLESXD_90: I will make a video of her doing this to me for you some
day (emoji)
OCE: Lol
BUBBLESXD_90: But I will make sure your daughter sucks my cock way
better than the girl in the video. I honestly want to fuck her
in the ass first. I think that will be the easiest hole to fully
slide into first. Plus, you can watch me cum deep inside
her ass (emoji)
BUBBLESXD_90: Is that something you would like to see?
OCE: Idk I don’t want u hurt her

BUBBLESXD_90: Well obviously I am gonna train her to slowly take more

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BUBBLESXD_90:

BUBBLESXD_90:

and more in her ass. Eventually my cock will just slide
inside with little resistance and I will be able to fuck her
hard and deep with nothing but pleasure coming from us
both

With that thought, I may just focus on her ass at first.
Make her fully use to it being licked, sliding clean sharpie
markers inside, then my finger, then two fingers then the
head of my dick will slowwwwwwwily push inside her ass
and then, eventually, every inch of my hard dick will slip
inside

What do you think (emoji)

77. On June 26, 2021, “BUBBLESXD_90” sent the following online

message to the FB] OCE:

BUBBLESXD_90:

Also, if I do get this girl I know to date me, I will highly
likely disappear from kik lol. I will let you know if we start

dating and say good bye to your sexy minded self lol

78. OnJune 27, 2021, the online conversation between BUBBLESXD_90”

and the FBI OCE continued as follows:

BUBBLESXD_90:

I am thinking of your daughters body. Imagining how
good it looks naked and picturing myself laying on my
back and having her sit her tiny little ass on my face and

moaning and giggling a bit as she feels my tongue lick her

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BUBBLESXD_90:
OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:
BUBBLESXD_90:
OCE:
BUBBLESXD_90:

BUBBLESXD_90:

tiny tight beautiful pussy (emoji)(emoji)(emoji) she turns
me on so damn much

Have you figured out how to take that pic? (emoji)

Lol noo I wasn’t sure how to take it

You will figure it out (emoji) I HAVE FAITH IN YOU
GIRL!! (emoji)(emoji)

Lol idk I’m nervous

I wish I could have been there to see your reaction when
you took the first pic (emoji)(emoji) your hands probably
trembling, your heart racing and your mind thinking “this
is crazy, I cannot believe I am actually doing this” omg
your reaction would be so cute to witness

Maybe the only way would be to get her to sleep naked for
a night? Other than that I can only think of trickery or
ordering her to let you take the pic

If you want me to, I can come over tonight while she is
asleep and cum on her as she sleeps (emoji)(emoji)
would u really do that?

Would you let me (emoji)

Ummm I mean I'd be open
(emoji)(emoji)(emoji)(emoji)(emoji)(emoji)(emoji)

I am suddenly sooooooo excited

48

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OCE:;

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

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BUBBLESXD_90:

BUBBLESXD_90:

OCE:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

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Hmmm soo

You seem nervous (emoji)

Well it’s a first for me don’t judge

You are talking to a guy who wants to eventually fuck
your kid. I am not the one to make judgements here lol
Lol that’s good to know

Lol are you scared of me having sex with her?

lol well u weren’t planning on doing that tonight right or
what

I know you are scared of me hurting her, I never plan on
doing that. But I do plan on teaching her to take my dick
slowly inside of her and having her eventually love having
sex with me

No not tonight (emoji) her pussy is wayyyyyy too tight to
take my dick in her without pain lol

Okay yeah definitely no pain

So what would u do then

I will very very gently take her panties down and kiss her
ass. Hoping not waking her. Maybe touch her ass a little
with my cock as she sleeps and as I rub it and then cum all
over her pussy and ass.

I really want to taste her pussy

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BUBBLESXD_90:
OCE:
BUBBLESXD_90:
OCE:

BUBBLESXD_90:

OCE:

OCE:

BUBBLESXD_90:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

OCE:

BUBBLESXD_90:

Has she showered yet tonight?

Yeah she has

Damn

Sorry

It is okay. Just a lost opportunity for a sneaky naughty pic
of her sexy little ass lol

Lol yeah true

She’s going to bed in a bit so..

Well I am still nervous. Not gonna lie. So I would really
like proof that you are not gonna fuck my entire life over
lol

You understand my point of view, right

I’m taking a big risk here too I mean I could lose her or
you could be crazy ya know

That is true, I could try to rape you both. I prefer to just
take my time and have fun though. But we want the same
thing. We want to see your daughter get taught and I want
so bad to teach her slowly (emoji)(emoji)

Hey I’m about to put her to bed.. if you want I could let
you talk to her real quick

And I have no desire to lose my future over something as

impulsive as just wanting a sexual experience

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BUBBLESXD_90:

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BUBBLESXD_90:

BUBBLESXD_90:

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Really (emoji)(emoji)(emoj1)

Ok well it’s up to you

Omg yesss

She doesn’t know anything about you so don’t be crazy
Okay (emoji)(emoji)

Okay what’s your number?

Maybe I should get a disposable phone (emoji) my name
came up with my phone number before. That is way to
easily traced. So I will just hold off on that. Numbers are
wayyyyy too traceable

Oh okay well then idk what to tell you

My desires clouded my judgement for a moment. I can
wait (emoji)(emoji)

Tell her your friend says good night then lol

Lol okay

No matter how much I want her, I need to be smart about
this

Got it I guess we'll talk later

I wish I could make out with her before she goes to sleep
Okay.. Have a good night (emoji)

So we need to figure out a way to trust each other. We are

both probably risking a lot using your daughter as my

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future sex endeavor lol

BUBBLESXD_90: Any ideas?

BUBBLESXD_90: What is she wearing to sleep tonight?

BUBBLESXD_90: (emoji)(emoji)

BUBBLESXD_90: I am just curious (emoji) also Iam guessing you are mad

at me?

79.  OnJune 1, 2021, I reviewed the images and videos in the URL
hyperlink that “BUBBLEXD_90” sent to the FBI OCE on March 30, 2021, at
approximately 4:54 PM EDT. A description of one such video of child pornography
in the hyperlink are as follows:

TITLE: April 5yo Super hot.mp4

DESCRIPTION: This color video is approximately 5 minutes 44
seconds in length depicts a nude prepubescent female minor child being
digitally penetrated by an adult’s finger. The child is very small in
stature and lacks pubic hair. Later during the video, a prepubescent
female minor child with slightly darker skin is visible with an adult’s
penis in her mouth. The video continues with various forms of oral and
digital penetration for the duration of the film.

80. On June 1, 2021, I reviewed the images and videos in the URL
hyperlink that “BUBBLESXD_90” sent to the FBI OCE on May 6, 2021 at
approximately 5:52 PM EDT. A description of one such video of child pornography

in this link are as follows:

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TITLE: “Xxx — Pthe -12Yo * 8Yo Pedo — Real Kids Fucking -
Creampie, Loads of Cum (No Blood), Interracial Child Sex,.mpg”

DESCRIPTION: This color video is approximately 4 minutes 8
seconds in length depicts prepubescent female minor child on a bed,
removing her underwear to expose her vagina. The child is small in
stature and lacks pubic hair. The camera focuses on the child’s vagina
as it is digitally penetrated. The digital penetration continues until 2
minutes 56 seconds when and male’s penis vaginally penetrates the
child’s vagina.

81. FBISOS M. Hammerling has advised me of and provided me with the
following information, some of which was set forth in written documentation that I
have reviewed. In or about February 2021, and at my direction, SOS Hammerling
took investigative steps to identify the user of the “BUBBLESXD_90” account. SOS
Hammerling found that Facebook had reported a CyberTip to the National Center
for Missing and Exploited Children (NCMEC) stating that the user of the Facebook
account username garret.weber.9480, with the unique id number 100030678615341,
at least five images of suspected child pornography, and one image depicting an
adult male’s face. Based on my training and experience, I know that NCMEC
regularly receives CyberTips from individuals and business entities regarding the
possible sexual exploitation of children. These CyberTips often include profile
information for users of online services and apps who are believed to be sharing,

uploading or discussing child pornography based on shared images, profile

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information, and text conversations. I am also aware that NCMEC sends the
materials contained in these CyberTips to the geographically appropriate law
enforcement agencies for investigation. I reviewed the NCMEC CyberTip regarding
Facebook username “garret.weber.9480” and learned the following:

a. Facebook submitting party Jason Barry, business address 1601 Willow
Road, Menlo Park, CA 94025, submitted the following to NCMEC. On
or about March 11, 2019, at approximately 16:05 Pacific Daylight Time
(PDT), the user of the Facebook account username garrett.weber.9480,
with the unique id number 100030678615341, email address
nargacugagw(@gmail.com (verified), name Garrett Weber, IP address
2602:306:b8bd: 1b0:e1bb:a356:6404:27ce, uploaded the file
9sOagp3vhnokc84s53761911_2273110472755924_884880121305183027
2_0.jpg, in Facebook Messenger and the Facebook submitting party
Jason Barry reviewed the image.

b. On or about June 29, 2021, I also reviewed this image uploaded by the
user of the Facebook account garrett.weber.9480. A description of this
image is as follows:

TITLE:
9s0agp3vhnokc84s53761911_2273110472755924_ 8848801213051830272_o0.jpg
DESCRIPTION: A color still image of a fully nude baby lying on top of
a fully nude adult male who appears to be prone on his back. The baby appears

to have a clear to whitish liquid on her abdomen and pubic area. The adult

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male’s penis is fully erect and pressed against the outside of the baby’s vagina.

The adult male’s penis is also covered in the same liquid. The adult male

appears to be white and has brown body hair.

c. On or about March 11, 2019, at approximately 23:05:53 PDT, the

user of the Facebook account username garrett.weber.9480, with the unique id

number 100030678615341, email address nargacugagw@gmail.com (verified),

name Garrett Weber, IP address 2602:306:b8bd:1b0:e1bb:a356:6406:27ce,
uploaded the file
8jb37zqv09wkkk0849187805_124451965254090_6927985168472866816_n.jpg
in Facebook Messenger and the Facebook submitting party Jason Barry
reviewed the image. On or about June 29, 2021, I reviewed this image, and the
individual depicted in the image uploaded by garrett.weber.9480 is the same
individual depicted in the Florida Driver’s License photograph for GARRETT

ERIC WEBER, which I have also reviewed.

82.  Inor about February 2021, and at my direction, SOS Hammerling
continued to take investigative steps to identify the user of the “BUBBLESXD_90”
account and provided me with the following information, some of which was set
forth in written documentation that I have reviewed. Using open source internet
research, SOS Hammerling located several social media accounts that appeared to be
related to the user of the “BUBBLESXD_90” account, and SOS Hammerling located
an Instagram account with the username “bubblesxd_90” with the display name

“Garrett Weber” and the biography “Hi, iam bubbles and i love cats and death

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metal”. SOS Hammerling also located two Skype accounts associated with the email
address disturbedguy1990@aol.com. One such Skype account’s username is
“bubblesxd17”, display name “Bubbles TheRock”, and telephone number 904-327-
3523 was associated with disturbedguy1990@aol.com, and the second had Skype
account username “bubbles90xd”,, with the display name Garrett Weber, associated
telephone number 904-327-3523, and an account photograph of a white male was
associated with the email address disturbedguy1990@aol.com. I have reviewed the
account photograph and the individual depicted in the photograph is young but still
appears to be the individual depicted in the Florida Driver’s License photograph for
GARRETT ERIC WEBER, which I have reviewed. Moreover, based on my
training, experience, and my review of all the information contained in this affidavit,
there are similar naming conventions among the Kik, Instagram, and Skype accounts
associated with disturbedguy1990@aol.com, including the nickname “bubbles” the
letters “xd” and the number “90”. Accordingly, I have probable cause to believe that
these accounts are likely controlled and operated by the same user.

83. Based on the information set forth above, I have probable cause to
believe that the Kik user “BUBBLESXD_90” who engaged in the online
conversation with the FBI OCE as set forth above, is the person identified as
GARRETT ERIC WEBER, date of birth October

84. Based upon the foregoing facts, I also have probable cause to believe
that during the period between on or about March 11, 2021 and on or about June 27,

2021, in the Middle District of Florida, GARRETT ERIC WEBER, a/k/a

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“BUBBLESXD_90,” did knowingly attempt to employ, use, persuade, induce, entice
and coerce a person whom defendant believed to be a minor to engage in any
sexually explicit conduct for the purpose of producing visual depictions of such
conduct, which visual depictions would have been transported and transmitted using
facilities of interstate commerce, that is, by cellular telephone and the internet, in

violation of 18 U.S.C. §§ 2251(a) and 2251(e).

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JO HAN MacDONALD, Special Agent
Fedéral Bureau of Investigation

Subscribed and sworn to before me this aid day of Jal , 2021, at
Jacksonville, Florida. \

QR. Kath

JAMHS R. KLINDT
United States Magistrate Judge

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